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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ARNETT

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. ARNETT2019 OK 63Case Number: SCBD-6676Decided: 10/07/2019As Corrected: October 9, 2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 63, __ P.3d __

				





STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION Complainant,v.EMMA BARLIE ARNETT Respondent.

ORDER OF DISCIPLINE

¶1 On July 31, 2018, the Oklahoma Bar Association (Bar Association), filed Notice of Judgment and Sentence regarding the respondent, Emma Barlie Arnett, notifying the Court of her criminal conviction of manslaugher. Subsequently, on September 10, 2018, we issued an Order of Immediate Suspension. The Professional Responsibility Tribunal (PRT) held a disciplinary proceeding on April 22, 2019, to consider a recommendation of final discipline and gather mitigating evidence.
¶2 The respondent has no complaints, disciplinary actions, or previous suspensions from the Oklahoma Bar Association nor any previous criminal charges. The PRT recommended that the interim suspension remain effective for two years and one month or until incarceration has ended ---- whichever is longer.
¶3 THE COURT FINDS:
1. The respondent's suspension from the Oklahoma Bar Association shall remain effective for two years and one day or until incarceration has ended ---- whichever is longer.
2. Upon the expiration of the suspension, the respondent may follow the strictures of Rule 11, of The Rules Governing Disciplinary Proceedings, 5 O.S. 2011 Ch. 1, App. 1-A.
3. The resuming the practice of law is conditioned on the respondent paying the assessed costs of $4,077.65.
IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED the respondent's suspension from the Oklahoma Bar Association shall remain effective for two years and one day or until her incarceration has ended ---- whichever is longer. The Bar Association is awarded costs of $4,077.65 in this proceeding.
DONE BY ORDER OF THE SUPREME COURT THIS 7th DAY OF OCTOBER, 2019.

/S/CHIEF JUSTICE
&nbsp;

GURICH, C.J., KAUGER, WINCHESTER, EDMONDSON, KANE, JJ., concur.
DARBY, V.C.J., COLBERT, COMBS, JJ., dissent:


DARBY, V.C.J., with whom COMBS, J., joins, dissenting:


I dissent. I would disbar respondent. State ex rel. OBA v. Wyatt, 2001 OK 70, 2 P.3d 858.
&nbsp;




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&nbsp;2001 OK 70, 32 P.3d 858, 72 OBJ        2617, STATE ex rel. OKLAHOMA BAR ASSN. v. WYATTCited


	
	








				
					
					
				

		
		

	
		
			
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